                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

                            CRIMINAL MINUTES – JURY TRIAL
                                                Day 10

  Case No.: 4:18CR00011-001           Date: 10/29/2019


  Defendant: Marcus Jay Davis, custody                   Counsel: Tony Anderson, Bev Davis,
                                                         Melissa Friedman - CJA



  PRESENT:      JUDGE:                 Michael F. Urbanski, CUSDJ
                TIME IN COURT:         9:29-11:00; 11:21-12:56; 2:04-3:32; 3:55-4:42; 4:52-6:10
                                                        6h 39m
                Deputy Clerk:          Kristin Ayersman
                Court Reporter:        JoRita Meyer
                U. S. Attorney:        Heather Carlton, Ron Huber, Rachel Swartz
                USPO:                  none
                Case Agent:            Devin Taylor, FBI TFO
                Interpreter:           none


                                     LIST OF WITNESSES

      GOVERNMENT                                         DEFENDANT
    1. Thomas Cosby, Jr.                            1.
    2. Officer Carnell Jackson, Danville PD
    3. Officer Charles Willard, Danville PD
    4. Officer Steven Cannaday, Danville PD
    5. Officer Melissa Darnell, Danville PD
    6. Officer Perrow Brumfield, Pittsylvania
    County Sherriff’s Office
    7. Wendy Gibson



  PROCEEDINGS:
       Defendant makes Motion for Dismissal.
       Court     grants   denies   takes under advisement.
       Government presents evidence. Mr. Cosby, sworn. Cross. Witness excused. Officer
       Jackson, sworn. No Cross. Witness excused. Officer Willard, sworn. Cross. Witness
       excused. Recess 12:56 Reconvene 2:04 US informs court of intention of using certain



Case 4:18-cr-00011-MFU-RSB Document 1050 Filed 10/29/19 Page 1 of 2 Pageid#: 7207
         photographs with witness testimony. Jury returns. Officer Cannaday, sworn. No cross.
         Witness excused. Recess 3:32 Reconvene 3:55 Officer Darnell, sworn. No cross.
         Witness excused. Officer Brumfield, sworn. Recess 4:42 Reconvene 4:52 Direct
         continues. No cross. Witness excused. Ms. Gibson, sworn. Stipulation as to expert re tool
         marks, conditioned on prior rulings of the court. Cross. Witness excused. Court asks jury
         to start at 9am. Counsel to arrive at 8:00am. Jury released 6:10 Adjourn.
         Defendant remanded to custody.

  Additional Information:
  Court addresses parties re email received from US last night re additional discovery. Court asks
  US to respond. Court will not release Mr. Newman as atty of record for US. US responds. Ms.
  Carlton asks to be excused from courtroom to get materials transcribed so that court and defense
  counsel will have draft transcript to review. Dft counsel responds – asking for charges to be
  dismissed. Court calls Mr. Newman to lectern to respond re filed affidavit re discovery. Dft
  counsel cross – Mr. Newman is an officer of the court and needs not be sworn. Court addresses
  parties, noting which items Mr. Newman is to produce today. Dft counsel may submit additional
  written response. Court takes issue under advisement. Court excuses Ms. Carlton to work on
  transcription, Ms. Friedman go with Ms. Carlton. Dft renewed motion to dismiss. Recess 11:00
  Reconvene 11:21 Jury enters courtroom 11:22




Case 4:18-cr-00011-MFU-RSB Document 1050 Filed 10/29/19 Page 2 of 2 Pageid#: 7208
